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UNITED STATES DISTRICT COURT 05 ]"‘
WESTERN DIsTRrCT or TENNESSEE ”Ay __
Eastern Division g 3 P/y 5_
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UNITED sTATEs 0F AMERICA p-'f:'gcos@/ f/c; »\
-vs- Case N0.1:05cr100 §

KEITH ROBINSON

 

ORDER OF DETENTION PENDING TRlAL
F|ND|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECTIONS REGARD|NG DETENTION

KEITH ROBINSON is committed to the custody of the Attorney Gencral or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. KEITH ROBINSON shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: May 2, 2005 . /!7
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10024 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

